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                               THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DVISION

                                          DATE 1/19/2021

DISTRICT JUDGE                                      COURT REPORTER: Jan Mason
Amos L. Mazzant, III                                COURTROOM DEPUTY: Keary Conrad
    UNITED STATES OF AMERICA

                                                      CASE NUMBER 4:20-CR-197
    V.

    JEANNIE L. SWAIM


    ATTORNEY FOR GOVERNMENT                           ATTORNEY FOR DEFENDANT
    Maureen Smith                                     Heath Hyde

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

  TIME:          MINUTES: Sentencing
  11:57 a.m.     Court in session. Court notes appearances. Parties have reviewed PSR. Defendant
                 acknowledges he fully understands the PSR. No additions, corrections, or comments by
                 the Government. No additions, corrections, or comments by counsel for the Defendant.
                 No objections by Government or Defendant.
  11:59 a.m.     The Court notes Defendant pled guilty to Count 1 of the Information charging her with
                 Conspiracy to Commit Bank Fraud pursuant to an 11(c)(1)(c) plea agreement.
  11:59 a.m.     TOL: 22, CHC I, Count 1: 41-51 months imprisonment; Court hears from Defendant’s
                 counsel regarding why the Court should accept the 11(c)(1)(c) agreement.
  12:01 p.m.     Court hears argument from the Government.
  12:03 p.m.     Defendant allocuted.
                 The Court accepts the 11(c)(1)(c) plea agreement.The sentence imposed for a total term
                 of 24 months imprisonment on Count 1 of the Information. The Court recommends to
                 the Bureau of Prisons that the defendant participate in the Inmate Financial
                 Responsibility Program at a rate determined by Bureau of Prisons staff in accordance
                 with the requirements of the Inmate Financial Responsibility Program. Defendant shall
                 pay restitution totaling $410,675.18 to the victim listed in the PSR. Fine waived,
                 interest waived, special assessment of $100. Supervised release for a term of 5 years.
                 All mandatory and special conditions were referenced as outlined in the PSR.
  12:05 p.m.     Court will recommend the Defendant be designated to BOP Bryan or Fort
                 Worth, Texas, if appropriate.
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12:06 p.m.   Rights of appeal addressed.
12:07 p.m.   Defendant ordered to self-surrender on Friday, March 5, 2021 by 2pm.



                                              DAVID O’TOOLE, CLERK
                                              BY:      Keary Conrad
                                                    Courtroom Deputy Clerk
